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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


 XIONGEN JIAO, an individual, QIANJI
 JIAO, an individual, ZHONGHUA YI, an
 individual,   PENGFEI    ZHOU,      an
 individual, XUAMEI ZHOU, an individual,

  Plaintiffs,

 vs.
                                                   Case No.: 4:19-CV-01848
 NINGBO XU, an individual, and LCL
 COMPANY, LLC, a Texas Limited                     Judge: Hon. Keith P. Ellison
 Liability Company,

  Defendants,

 and

 DONGTAI INVESTMENT GROUP, LLC,
 a Texas Limited Liability Company,

  Nominal Defendant.


                                 ORDER GRANTING
                         MOTION FOR DISBURSEMENT OF FUNDS
         CAME ON for consideration the Agreed Motion for Disbursement of Funds (“Motion to

Disburse”) by Ronald J. Sommers, Receiver (“Receiver”) in this matter, and finds that cause exists

to grant a disbursement of funds to (i) Nathan Sommers Jacobs in an amount of $79,610.20, (ii)

TPS-West, LLC in an amount of $6,178.51, (iii) the Receiver in an amount of $49,734.94, and (iv)

Proof of Claims No. 1, 2, 3, 4, 5, 11, and 12 in the full amount of the allowed claim, and that the

Motion to Disbursement should be GRANTED. It is therefore

         ORDERED that the Agreed Motion to Disburse is GRANTED.           Further, it is
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       ORDERED that the following payments by the Receiver during the pendency of this

receivership are ratified by the Court:

                             PAYEE                                     AMOUNT

 United States Treasury                                                             $129.00

 United States Treasury                                                             $172.00

 United States Treasury                                                             $301.00

 United States Treasury                                                             $344.00

 Proactive Legal Solutions                                                          $135.00

 Proactive Legal Solutions                                                           $85.00

 Fidelity National Financial, Inc.                                                  $285.32

 United States Treasury                                                           $5,040.00

 TPS-West, LLC (Accountant Fees)                                                 $25,406.44

 TOTAL                                                                           $31,897.76



       ORDERED that Receiver shall pay Nathan Sommers Jacobs an amount of $79,610.20,

TPS-West, LLC an amount of $6,178.51, and that Receiver shall pay $49,734.94 to Ronald J.

Sommers, Receiver for interim fees and expenses. Further, it is

       ORDERED that the Receiver shall pay $925,255.83 to the allowed Claims Nos. 1, 2, 3, 4,

5, 11 and 12 in the amounts and in the manner directed below:




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Claim                                                                Agreed Claim
 No.           Claimant                    Mailing Address             Amount
                                         c/o Stacey L. Barnes
                                 Kearney, McWilliams & Davis, PLLC
  1            Qianju Jiao                                            $157,250.00
                                      55 Waugh Drive, Suite 150
                                        Houston, Texas 77007
                                         c/o Stacey L. Barnes
                                 Kearney, McWilliams & Davis, PLLC
  2            Jiatong Yu                                             $227,250.00
                                      55 Waugh Drive, Suite 150
                                        Houston, Texas 77007
                                         c/o Stacey L. Barnes
                                 Kearney, McWilliams & Davis, PLLC
  3           Xuanmei Zhou                                            $328,250.00
                                      55 Waugh Drive, Suite 150
                                        Houston, Texas 77007
                                         c/o Stacey L. Barnes
            Zhonghong Group      Kearney, McWilliams & Davis, PLLC
  4                                                                   $180,000.00
               USA Inc.               55 Waugh Drive, Suite 150
                                        Houston, Texas 77007
                                          Attn: Janice Confer
  5            Natura A-R                 6436 Babcock Rd.            $11,967.56
                                      San Antonio , Texas 78249
                                      Attn: Accounts Receivable
            Symmetry Energy
 11
             Solutions, LLC
                                    9811 Katy Freeway, Suite 1400     $11,538.27
                                         Houston, TX 77024
                                           Attn: Kate Buck
             Hewlett Packard           McCarter & English LLP
 12                                                                    $9,000.00
            Financial Services       405 N. King Street, 8th Floor
                                        Wilmington, DE 19801


      SIGNED this the ______ day of _________________, 2023.



                                       _________________________________________
                                             JUDGE PRESIDING




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APPROVED AND REQUESTED
TO BE ENTERED:

NATHAN SOMMERS JACOBS
A PROFESSIONAL CORPORATION

By: /s/ Iain L. C. Kennedy
        Iain L. C. Kennedy
        Attorney-in-Charge
        Texas Bar. No. 24068094
        Federal ID No. 1066018
        Julie Le
        Texas Bar No. 24111324
        Federal ID No. 3778242
        2800 Post Oak Blvd. 61st Floor
        Houston, TX 77056
        (713) 960-0303 (main)
        (713)892-4800 (fax)
        ikennedy@nathansommers.com
        jle@nathansommers.com

ATTORNEYS FOR RONALD J. SOMMERS, RECIEVER




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